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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,
                                                               Criminal No. 10-09 MJD/SRN
                               Plaintiff,
                        v.                                         PRELIMINARY ORDER
                                                                        OF FORFEITURE
SHERMAN LEE (2),

                               Defendant.

          Based on the United States’ motion for a Preliminary Order of Forfeiture; on the Plea

Agreement entered into between the United States and Defendant Sherman Lee; on the Court

having found that certain property is subject to forfeiture pursuant to 18 U.S.C. § 924(d); and

on the Court’s determination that, based on the Plea Agreement entered into by the defendant

and based on all of the files and records of this proceeding, the government has established

the requisite nexus between such property and the offense to which the defendant has pled

guilty,

          IT IS HEREBY ORDERED that:

          1.     the Stainless Cobra, Model FS380, serial number FS016418 is forfeited to the

United States pursuant to 18 U.S.C. § 924(d);

          2.     the Attorney General or his authorized designee may seize the foregoing

property and maintain custody and control of the property pending the entry of a Final Order

of Forfeiture;




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       3.     the United States shall, pursuant to 21 U.S.C. § 853(n)(1), as incorporated by

28 U.S.C. § 2461(c) publish and give notice of this Order and its intent to dispose of the

foregoing property in such manner as the Attorney General may direct;

       4.     pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Preliminary Order of

Forfeiture shall become final as to the defendant at the time of sentencing, and shall be made

a part of the sentence and included in the judgment;

       5.     following the Court’s disposition of all petitions filed pursuant to 21 U.S.C. §

853(n)(2) or, if no petitions are filed, following the expiration of the time period specified

within which to file such petitions, the United States shall have clear title to the foregoing

property and may warrant good title to any subsequent purchaser or transferee; and

       6.     this Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary pursuant to Fed. R. Crim. P. 32.2(e).



Dated: January 4, 2011


                                           s/ Michael J. Davis
                                           MICHAEL J. DAVIS, Chief Judge
                                           United States District Court




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